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 8                           UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              April 2021 Grand Jury

11   UNITED STATES OF AMERICA,               CR    2:22-cr-00012-MWF

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [21 U.S.C. §§ 841(a)(1),
                                             (b)(1)(A)(viii): Distribution of
14   FREDI CASTILLO-VEGA,                    Methamphetamine; 18 U.S.C.
       aka “Listo,”                          § 922(a)(1)(A): Engaging in the
15     aka “Fredy Vega,” and                 Business of Dealing in Firearms
     DALLAS CLAVELLE,                        Without a License; 18 U.S.C.
16     aka “Kash,”                           § 922(o): Possession of
                                             Machineguns; 26 U.S.C. § 5861(d):
17             Defendants.                   Possession of Unregistered
                                             Firearms; 26 U.S.C. § 5861(i):
18                                           Possession of Firearms Without
                                             Serial Numbers; 18 U.S.C.
19                                           § 922(g)(1): Felon in Possession
                                             of a Firearm and Ammunition]
20

21        The Grand Jury charges:
22                                     COUNT ONE
23                   [21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii)]
24                            [DEFENDANT CASTILLO-VEGA]
25        On or about July 9, 2020, in Los Angeles County, within the
26   Central District of California, defendant FREDI CASTILLO-VEGA, also
27   known as (“aka”) “Listo,” aka “Fredy Vega,” knowingly and
28
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 1   intentionally distributed at least 50 grams, that is, approximately

 2   196 grams, of methamphetamine, a Schedule II controlled substance.

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 1                                     COUNT TWO

 2                       [18 U.S.C. §§ 922(a)(1)(A), 2(a)]

 3                                 [ALL DEFENDANTS]

 4          Beginning on or before February 26, 2020, and continuing through

 5   at least on or about August 19, 2020, in Los Angeles County, within

 6   the Central District of California, defendants FREDI CASTILLO-VEGA,

 7   also known as (“aka”) “Listo,” aka “Fredy Vega,” and DALLAS CLAVELLE,

 8   aka “Kash,” each not being licensed as an importer, manufacturer, or

 9   dealer in firearms, each aiding and abetting the other, willfully

10   engaged in the business of dealing in firearms, specifically, the

11   sales of the following firearms, on or about the following dates:

12   Date              Defendant(s)             Firearms
13
     February 26,      CASTILLO-VEGA and        A Springfield Armory, model
14   2020              CLAVELLE                 XD-9, 9mm caliber pistol,
                                                bearing serial number XD185194;
15                                              A Chiappa Firearms LTD, model
16                                              AK-9, 9mm caliber pistol,
                                                bearing serial number
17                                              RONVMB71705871; and

18                                              An AR-type, unknown caliber
                                                rifle, bearing no serial number
19                                              (commonly referred to as a
                                                “ghost gun”)
20
     March 11,         CASTILLO-VEGA and        A Glock-type, unknown caliber,
21   2020              CLAVELLE                 ghost gun pistol, bearing no
                                                serial number;
22
                                                An Accu-Tek, model AT-380, .380
23                                              caliber pistol, bearing serial
                                                number 044080;
24
                                                An AR-type, 5.56mm caliber ghost
25                                              gun pistol, bearing no serial
                                                number; and
26
                                                A Fegyver Es Gepgyar, model AK-
27                                              47, 7.62mm caliber rifle,
                                                bearing serial number EE3087H
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 1   Date             Defendant(s)             Firearms
 2
     July 2, 2020     CASTILLO-VEGA            An Intratec, model TEC-9, 9mm
 3                                             caliber pistol, bearing serial
                                               number A061010;
 4                                             A Phoenix Arms, model HP22A,
 5                                             22LR caliber pistol, bearing
                                               serial number 4351400; and
 6                                             A Mossberg, model 590, 12-gauge
 7                                             shotgun, bearing serial number
                                               L550894
 8
     July 9, 2020     CASTILLO-VEGA            Three Glock-type, unknown
 9                                             caliber, ghost gun pistols,
                                               bearing no serial numbers
10
     July 15, 2020    CASTILLO-VEGA            Two AR-type, 5.56 NATO caliber
11                                             ghost gun rifles, bearing no
12                                             serial numbers; and
                                               A Mossberg, model 590, 12-gauge
13                                             shotgun, bearing serial number
                                               P196877
14

15   August 5,        CLAVELLE                 An AR-type, ghost gun rifle,
     2020                                      bearing no serial number
16
     August 19,       CLAVELLE                 A Springfield, model XD-40, .40
17   2020                                      caliber pistol, bearing serial
                                               number MG345844
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 1                                    COUNT THREE

 2                               [18 U.S.C. § 922(o)]

 3                            [DEFENDANT CASTILLO-VEGA]

 4        On or about March 11, 2020, in Los Angeles County, within the

 5   Central District of California, defendant FREDI CASTILLO-VEGA, also

 6   known as (“aka”) “Listo,” aka “Fredy Vega,” knowingly possessed a

 7   machinegun, as defined in Title 18, United States Code, Section

 8   921(a)(23), and Title 26, United States Code, Section 5845(b), that

 9   defendant CASTILLO-VEGA knew to be a machinegun, namely, a machinegun

10   conversion device (also known as a “Glock switch,” “trigger switch,”

11   or “auto switch”) that was designed and intended solely and

12   exclusively for use in converting a weapon into a machinegun.

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 1                                     COUNT FOUR

 2                               [18 U.S.C. § 922(o)]

 3                            [DEFENDANT CASTILLO-VEGA]

 4        On or about July 9, 2020, in Los Angeles County, within the

 5   Central District of California, defendant FREDI CASTILLO-VEGA, also

 6   known as (“aka”) “Listo,” aka “Fredy Vega,” knowingly possessed a

 7   machinegun, as defined in Title 18, United States Code, Section

 8   921(a)(23), and Title 26, United States Code, Section 5845(b), that

 9   defendant CASTILLO-VEGA knew to be a machinegun, namely, a machinegun

10   conversion device (also known as a “Glock switch,” “trigger switch,”

11   or “auto switch”) that was designed and intended solely and

12   exclusively for use in converting a weapon into a machinegun.

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 1                                COUNTS FIVE AND SIX

 2                              [26 U.S.C. § 5861(d)]

 3                            [DEFENDANT CASTILLO-VEGA]

 4          On or about July 15, 2020, in Los Angeles County, within the

 5   Central District of California, defendant FREDI CASTILLO-VEGA, also

 6   known as (“aka”) “Listo,” aka “Fredy Vega,” knowingly possessed the

 7   following firearms, each of which defendant CASTILLO-VEGA knew to be

 8   a firearm and short-barreled rifle, as defined in Title 26, United

 9   States Code, Sections 5845(a)(3) and 5845(c), and each of which had

10   not been registered to defendant CASTILLO-VEGA in the National

11   Firearms Registration and Transfer Record, as required by Title 26,

12   United States Code, Chapter 53:

13   Count        Firearm
14
     FIVE         An AR-type, 5.56 NATO caliber rifle, bearing no serial
15                number (commonly referred to as a “ghost gun”), with a
                  barrel less than 16 inches in length, namely,
16                approximately 8 5/8 inches in length

17   SIX          An AR-type, 5.56 NATO caliber ghost gun rifle, bearing no
                  serial number, with a barrel less than 16 inches in
18                length, namely, approximately 8 5/8 inches in length
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 1                              COUNTS SEVEN AND EIGHT

 2                              [26 U.S.C. § 5861(i)]

 3                            [DEFENDANT CASTILLO-VEGA]

 4        On or about July 15, 2020, in Los Angeles County, within the

 5   Central District of California, defendant FREDI CASTILLO-VEGA, also

 6   known as (“aka”) “Listo,” aka “Fredy Vega,” knowingly possessed the

 7   following firearms, each of which defendant CASTILLO-VEGA knew to be

 8   a firearm and short-barreled rifle, as defined in Title 26, United

 9   States Code, Sections 5845(a)(3) and 5845(c), and each of which was

10   not identified by a serial number, as required by Title 26, United

11   States Code, Chapter 53:

12   Count       Firearm
13
     SEVEN       An AR-type, 5.56 NATO caliber rifle, bearing no serial
14               number (commonly referred to as a “ghost gun”), with a
                 barrel less than 16 inches in length, namely,
15               approximately 8 5/8 inches in length

16   EIGHT       An AR-type, 5.56 NATO caliber ghost gun rifle, bearing no
                 serial number, with a barrel less than 16 inches in
17               length, namely, approximately 8 5/8 inches in length
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 1                                     COUNT NINE

 2                             [18 U.S.C. § 922(g)(1)]

 3                               [DEFENDANT CLAVELLE]

 4        On or about August 19, 2020, in Los Angeles County, within the

 5   Central District of California, defendant DALLAS CLAVELLE, also known

 6   as “Kash,” knowingly possessed a firearm, namely, a Springfield,

 7   model XD-40, .40 caliber pistol, bearing serial number MG345844, and

 8   ammunition, namely, approximately 50 rounds of Winchester .40 S&W

 9   caliber ammunition and four rounds of Guilio Fiocchi Lecco .40 S&W

10   caliber ammunition, in and affecting interstate and foreign commerce.

11        Defendant CLAVELLE possessed such firearm and ammunition knowing

12   that he had previously been convicted of at least one of the

13   following felony crimes, each punishable by a term of imprisonment

14   exceeding one year:

15        (1)   Carrying a Loaded Firearm, Not Registered, in violation of

16   California Penal Code Section 25850(a), in the Superior Court of the

17   State of California, County of Los Angeles, Case Number TA143870, on

18   or about August 30, 2017; and

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 1        (2)   Having a Concealed Firearm on the Person, in violation of

 2   California Penal Code Section 25400(a)(2), in the Superior Court of

 3   the State of California, County of Los Angeles, Case Number TA143870,

 4   on or about August 30, 2017.

 5
                                              A TRUE BILL
 6

 7                                                    /S/
 8                                            Foreperson

 9

10   TRACY L. WILKISON
     United States Attorney
11

12

13   SCOTT M. GARRINGER
     Assistant United States Attorney
14   Chief, Criminal Division

15   JOSHUA O. MAUSNER
     Assistant United States Attorney
16   Deputy Chief, General Crimes
     Section
17
     JENNA WILLIAMS
18   Assistant United States Attorney
     International Narcotics, Money
19   Laundering & Racketeering Section

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